        19-13097           Doc 1          Filed 09/27/19                   Entered 09/27/19 12:31:20                       Main Document                     Pg
                                                                               1 of 13



     Un ited States Bankruptcy Court for the:

     Southern                   District of   New York
                                              (State)
     Case number   (If known) _ _ _ _ _ _ _ _ _ _ _                  Chapter _1_1_                                                                   D    Check if this is an
                                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                      04/19

If mo re space is needed, attach a se parate sheet to this form. On th e top of any additional pages , write the d ebtor's name an d the case
number (if known). For more information, a separate docume nt, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.     Debtor's name                               Smarter Toddler Group, LLC



2.    All oth er nam es debtor us ed
      in th e last 8 yea rs
       Include any assumed names ,
       trade names , and doing business
       as names




3.     Debtor's federal Employer                   8 1 _-
                                                        2-8-
                                                           1-55 4 -
                                                                  1
       Id entification Number (EIN)                           --



4.     Debtor's address                           Principal place of business                                   Mailing address, if different from principal pl ace
                                                                                                                of business

                                                  99 John Street
                                                  Number          Street                                        Number      Street



                                                                                                                P.O. Box

                                                   New York                          NY       10038
                                                  City                               State    ZIP Code          City                         State           ZIP Code


                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business
                                                   United States
                                                  County
                                                                                                                Number      Street




                                                                                                                City                         State          ZIP Code




s. Debtor's website (URL)                          http://www.smartertoddler.net


s. Type of debtor
                                                  lx:I   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  D Partnership (excluding LLP)
                                                  D Other. Specify: _ _ _ _ _ _ _ _ _ _ __                    _ _ _ _ _ _ _ _ _ _ _ _ _ __




Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 1
        19-13097             Doc 1        Filed 09/27/19                  Entered 09/27/19 12:31:20                          Main Document                    Pg
                                                                              2 of 13


Debtor             Smarter Toddler Group, LLC                                                              Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  Nam e



                                             A. Check one :
1.     Describe debtor's business
                                             D     Health Care Business (as defined in 11 U.S .C. § 101 (27 A))
                                             D     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             D     Railroad (as defined in 11 U.S .C. § 101(44))
                                             D     Stockbroker (as defined in 11 U.S.C . § 101(53A))
                                             D     Commodity Broker (as defined in 11 U.S.C . § 101 (6))
                                             D     Clearing Bank (as defined in 11 U.S .C. § 781 (3))
                                             !XI   None of the above


                                             B. Check all that apply:

                                             D     Tax-exempt entity (as described in 26 U .S.C . § 501)
                                             D     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                             D     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11 ))


                                             C . NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www .uscourts .gov/four-diq it-national-association -naics-codes .




a. Under which chapter of th e               Check one.
       Bankruptcy Cod e is the
       debtor filing?                        D     Chapter 7
                                             D     Chapter 9
                                             !XI   Chapter 11 . Check all that apply:
                                                                     D    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                         insiders or affiliates) are less than $2 ,725 ,625 (amount subject to adjustment on
                                                                         4/01/22 and every 3 years after that) .
                                                                     D    The debtor is a small business debtor as defined in 11 U .S .C . § 101 (51 D) . If the
                                                                         debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                         of operations , cash-flow statement, and federal income tax return or if all of these
                                                                         documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8) .

                                                                     D   A plan is being filed with this petition.

                                                                     D   Acceptances of the plan were solicited pre petition from one or more classes of
                                                                         creditors, in accordance with 11 U .S.C. § 1126(b) .

                                                                     0   The debtor is required to file periodic reports (for example , 1OK and 1OQ) with the
                                                                         Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                         Exchange Act of 1934 . File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                         for Bankruptcy under Chapter 11 (Official Form 201 A) with this form .

                                                                     D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                         12b-2.
                                             D     Chapter 12


9.    Were prior bankruptcy cases            ~ No
      filed by or against the debtor
      within th e last 8 years?              D     Yes.   District                                 When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                           MM / OD / YYY Y
       If more than 2 cases , attach a
                                                          District                                 When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
       separate list.
                                                                                                          MM/ 00/YYYY


10. Are any bankruptcy cases                 0     No
      pending or being filed by a
      business partner or an                 D     Yes . Debtor                                                              Relationship
      affiliate of th e debtor?                           District                                                           When
       List all cases . If more than 1,                                                                                                     MM   /   DO   / YYYY
       attach a separate list .                           Case number, if known


     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
      19-13097           Doc 1    Filed 09/27/19               Entered 09/27/19 12:31:20                        Main Document                   Pg
                                                                   3 of 13


Debtor            Smarter Toddler Group. LLC                                                   Case number (it known). _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  Name




11. Why is the cas e fil ed in this   Check all that apply:
      district?
                                      ~ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                        district.

                                      D     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12.   Does th e debtor own or have    IX) No
      poss ession of any real         D     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immed iate attention? (Check all that apply.)
      attention?
                                                 D    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                 D    It needs to be physically secured or protected from the weather.

                                                 D    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                 D    Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                 Wh ere is the property?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                              Number         Street




                                                                              City                                           State       ZIP Code



                                                 Is th e property ins ured?

                                                 0    No
                                                 D    Yes. Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                           Contact name

                                                           Phone




            Statistical and administrative information



13. Debtor's estimation of            Check one:
      availabl e funds                IXI   Funds will be available for distribution to unsecured creditors.
                                      D     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                      IXJ   1-49                          0    1,000-5,000                          0    25,001-50,000
14.   Estimated number of             0     50-99                         0    5,001-10,000                         0    50,001-100,000
      creditors
                                      0     100-199                       0    10,001-25,000                        D    More than 100,000
                                      0     200-999


                                      0     $0-$50,000                    ~ $1,000,001-$10 million                  0    $500,000,001-$1 billion
1s. Estimated ass ets                 0     $50,001-$100,000              D $10,000,001-$50 million                 D   $1,000,000,001-$10 billion
                                      0     $100,001-$500,000             D $50,000,001-$100 million                D   $10,000,000,001-$50 billion
                                      D     $500,001-$1 million           D $100,000,001-$500 million               D   More than $50 billion

                                                                                             - - - - - -------

  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
      19-13097        Doc 1        Filed 09/27/19                     Entered 09/27/19 12:31:20                       Main Document                   Pg
                                                                          4 of 13


Debtor        Smarter Toddler Group, LLC                                                        Case number (1fknown) _ _ _ _ _ _ _ _ _ _ _ _ __
              Name



                                        0    $0-$50,000                    IZI   $1,000,001-$10 million                   0   $500,000,001-$1 billion
1s. Estimated liabilities
                                        0    $50,001-$100,000              0     $10,000,001-$50 million                  D   $1,000,000,001-$10 billion
                                        0    $100,001-$500,000             0     $50,000,001-$100 million                 D   $10,000,000,001-$50 billion
                                        0    $500,001-$1 million           0     $100,000,001-$500 million                D   More than $50 billion




            Request for Relief, Declaration, and Signatures



WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


11.   Declaration and signature of      ■    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                             petition.
      debtor

                                        ■    I have been authorized to file this petition on behalf of the debtor.

                                        ■    I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.




                                         X                                                                 Kettia Ming
                                                                                                           Printed name


                                             Title   Manager




18.   Signature of attorney              X                                                                 Date           q /t,12~,,
                                                                                                                      MM      /DD /YYYY



                                             Jeffrey Chubak
                                             Printed name

                                             Storch Amini PC
                                             Firm name

                                             140 East 45th Street 25th Floor
                                             Number          Street

                                             New York                                                         ~N~Y___ =10=-"0': -'-1.. ., ._7_ _ _ _ _ __
                                             City                                                             State            ZIP Code


                                             (212) 490-4100                                                    jchubak@storchamioi com
                                             Contact phone                                                    Email address



                                             4581807                                                           NY
                                             Bar number                                                       State




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
    19-13097         Doc 1        Filed 09/27/19               Entered 09/27/19 12:31:20                Main Document              Pg
                                                                   5 of 13


                                                                    -             -



 Fill in this information to identify the case:
 Debtor name: Smarte r Toddler Group, LLC
 United States Bankruptcy Cou rt for the Southern District of New York
 Case num ber (if known): 19-bk-_ _ __


Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                           12/15
A list of cred itors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9
case. Include claims which the debtor disputes . Do not include claims by any person or entity who is
an insider, as defined in 11 U.S.C. § 101 (31 ). Also , do not include claims by secured credito rs,
unless the unsecured claim res ulting from inadequate collateral value places the cred itor among the
h0 Id ers of th e 20 Iarges t unsecure d ca
                                          I .irns .
Name of creditor and       Name, telephone number,              Nature of the     Indicate if     Amount of unsecured claim
complete mailing           and ema il add ress of               cl aim (for       claim is
address, in clud ing       creditor contact                     example , trade   contingent,     Total cla im ,   Deduction    Unsecured
zip code                                                        debts, bank       unliquidated,   if partially     for valu e   cl aim
                                                                loans,            or disputed     secured          of
                                                                professional                                       collateral
                                                                services ,                                         or setoff
                                                                governmental
                                                                contracts)
1     Internal                                                  Taxes             NIA             NIA              NIA          $275,749.52
      Revenue
      Service,
      Attn : C. Castro ,
      Revenue Officer
      290 Broadway,
      New York , NY
      10007
2     Giordano             Wachtel Missry LLP, Attn:            Judgment          NIA             N/A              NIA          $595,222.18
      Consulting Inc. ,    Steven J. Cohen,
      Attn: Angelo         885 Second Ave., 47 th Floor,
      Michilli, 160        New York, NY 10017
      Varick St., New      (212) 909-9505
      York , New York      cohen@wmllp .com
      10013
3     ConstranoRahn        Joshua Rahn                          Loan              N/A             N/A              N/A          $500,000.00
      LLC, Attn :          (917) 423-5205
      Joshua Rahn          joshuarahn2@gmail.com
      363 Greenwich
      St., Apt. 4A,
      New York, NY
      10013
4     E.J. York Inc.,      Robinson Brog Leinwand               Judgment          NIA             N/A              NIA          $163,697.16
      336 West 37 th       Greene Genovese & Gluck
      St. , Suite 970 ,    P.C ., Attn: Andrew T. Lolli, 875
      New York, New        Third Ave., 9th Floor, New
      York 10018           York, NY 10022
                           (212) 603-6300
                           alolli@robinsonbroq .com
5     Abe Shampaner        Schwartz Sladkus Reich               Judgment          N/A             NIA              NIA          $191,509.47
      3 Binnington         Greenberg Atlas LLP
      Ct., East            Attn: Lynn E. Judell
      Brunswick, NJ        444 Madison Ave., 6th Floor,
      08816                New York, NY 10022
                           (212) 743-7110
                           liudell@,ssrqa.com
    19-13097        Doc 1         Filed 09/27/19                Entered 09/27/19 12:31:20               Main Document              Pg
                                                                    6 of 13


Name of creditor and       Name, telephone number,               Nature of the    Indicate if     Amount of unsecured claim
compl ete mailing          and email address of                  claim (for       claim is
address, including         creditor contact                      example, trade   contingent,     Total claim ,   Deduction    Unsecured
zip code                                                         debts, bank      unliquidated,   if partially    for value    claim
                                                                 loans,           or disputed     sec ured        of
                                                                 professional                                     collateral
                                                                 services,                                        or setoff
                                                                 governmental
                                                                 contracts)
6     Brett                Lynn E. Judell                        Judgment         NIA             NIA             NIA          $49 ,921 .17
      Shampaner            (212) 743-7110
      65-36                ljudell@ssrga.com
      Wetherole St. ,
      Apt. 409 , Rego
      Park, NY 11374
7     NYS Department                                             Unknown          Disputed        NIA             NIA          $37 ,036.12
      of Labor, Building
      12, WA.
      Harriman
      Campus, Albany ,
      NY 12240
8     Paychex, Inc.        Taroff & Taitz LLP                    Trade debt       Disputed        NIA             NIA          $36,000.00
      225 West 34 th       1 Corporate Dr., Suite 102
      St., Suite 700       Behemia, NY 11716
      New York , NY        (631) 475-4400
      10122
9     lnemer & Wolf        Joe Wolf                              Professional     NIA             NIA             NIA          $28 ,149.48
      LLP, Attn : Joe      (212) 944-2555                        services
      Wolf, 1430           joe@nyc-cpa.com
      Broadway , Suite
      1503, New
      York, NY 10018
10    Startel Solutions                                          Trade debt       Disputed        NIA             NIA          $10,776.99
      40 West 37 th
      St., Suite 805
      New York, NY
      10018
11    Fox Capital          Zachter PLLC,                         Loan             Disputed        NIA             NIA          $10,855
      Group , Inc., 383    Attn: Jeffrey S. Zachter
      Kingston Ave .,      2 University Plaza, Suite 205
      Suite 337,           Hackensack, NJ 07601
      Brooklyn, NY         (646) 779-3294
      11213                jzachter@zachterlaw.com
12    C&H Financial        Oxygen Recovery Group                 Trade debt       Disputed        NIA             NIA          $7 ,445.70
      Services Inc.        Attn: Mohsin Pometkar
      100 Jericho          1 Hillcrest Center Dr. , Suite 314
      Quadrangle,          Spring Valley, NY 10977
      Jericho, NY          (845) 367-4330
      11753
13    Yo Re Mi                                                   Services         NIA             NIA             NIA          $7 ,200.00
      221 Linden
      Blvd.
      Brooklyn , NY
      11226
14    Mark Yosef                                                 Professional     NIA             NIA             NIA          $3,100 .00
      116 Nassau                                                 services
      Street, 5th Floor
      New York, NY
      10038
15    Baby Fingers                                               Services         NIA             NIA             NIA          $1,040.00
      LLC, clo
      Douglas A.
      Lobel, P.C.
      25 West 43 rd
      St., New York,
      NY 10036
19-13097               Doc 1            Filed 09/27/19                     Entered 09/27/19 12:31:20                             Main Document           Pg
                                                                               7 of 13



 Fill in this information to identify the case and this filing:


  Debtor Name Smarter Toddler Group. LLC

  United States Bankruptcy Court for the: ""'S""o.,.u,,,_th"-'=e"-'rn'-'------- - District of New York
                                                                                           (State )
  Case number (If known )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                12/15

An ind ividual who is authorize d to act o n behalf of a non-individ ual debtor, su ch as a corp o ra t ion or partne r s hip, must sign and submit
t his f orm for the sched ul es of assets and liabilities , any oth etsQi®111!1\\ffdlt-UlaV,trurires a declaration th at is n ot incl ud ed in the document,
and any amendments of those doc uments . This fo rm must state the individ ual's position or re!ationship to the debtor, th e identity of the
document, and t he date. Ban k rup tcy Rules 1008 an d 9011 .

WARNING -- Ba n kruptcy fraud is a serious c rime. Making a fals e statement, co n cealing property, or obtainin g m oney or property by frau d in
connecti on w ith a ban kruptcy cas e can result in fines u p to $50 0,000 or impris onment for up to 20 yea rs , o r both . 18 U.S.C. §§ 152, 1341,
1519, and 3571



                Det;:laration and sign ature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          0       Schedule AIB: Assets-Real and Personal Property (Official Form 206AIB)

          0       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

          0       Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          0      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          0      Schedule H: Codebtors (Official Form 206H)

          D      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          0      Amended Schedule


          l&l    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          0      Other document that requires a declaration. _ ~- ·- --                -    -




          ~::::::du::•r;;;y~f; ;;~atthe forego,: •true
                            MM I DD/ YYYY
                                                                                 :r;;::_=-----
                                                                           Sign / ,·~ ~ ind1v1dual signing on behalf of debtor



                                                                            Kettia Min;:,,,__ _ _ __ _
                                                                           Printed name

                                                                            Manager
                                                                           Position or relationship to debtor



Official Form 202                                  Declaration Under Penalty of Perjury fo r Non-In di vid ual Debtors
19-13097      Doc 1    Filed 09/27/19     Entered 09/27/19 12:31:20       Main Document        Pg
                                              8 of 13


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Chapter 11

 SMARTER TODDLER GROUP, LLC,                         Case No. 19-bk-_ __

                          Debtor.

                           VERIFICATION OF CREDITOR MATRIX

          The above-named Debtor hereby verifies that the annexed matrix (list of creditors) is true

and correct to the best of its knowledge.



                                                            l! -
Dated: SeptemberLI, 2019


                                                       Ketti! Ming, Manager
                                  19-13097             Doc 1       Filed 09/27/19                Entered 09/27/19 12:31:20                 Main Document               Pg
                                                                                                     9 of 13

Smarter Toddler Group, LLC
List of creditors

Name                                                           Address1                                                     Address2                              City             State   Zip Code
Internal Revenue Service                                       Attn: C. Castro, Revenue Officer                             290 Broadway                          New York         NY             10007
Bright Horizons Children's Centers LLC                         Attn: John Casagrande, General Counsel                       200 Talcott Ave. South                Watertown        MA             02472
Pelosi Wolf Effron & Spates LLP                                Attn: Dennis P. Spates                                       233 Broadway, 22nd Floor              New York         NY             10279
B.E. Capital Management Fund LP                                Attn: Thomas Braziel                                         15 East 67th Street, 6th Floor        New York         NY             10065
Mintz & Gold LLP                                               Attn: Andrew R. Gottesman                                    600 Third Ave., 25th Floor            New York         NY             10016
Giordano Consulting Inc.                                       Attn: Angelo Michilli                                        160 Varick St.                        New York         NY             10013
Wachtel Missry LLP                                             Attn: Steven J. Cohen                                        885 Second Ave., 47th Floor           New York         NY             10017
ConstranoRahn LLC                                              Attn: Joshua Rahn                                            363 Greenwich St., Apt. 4A            New York         NY             10013
E.J. York Inc.                                                                                                              336 West 37th St., Suite 970          New York         NY             10018
Robinson Brog Leinwand Greene Genovese & Gluck, P.C.           Attn: Andrew Lolli                                           875 Third Ave., 9th Floor             New York         NY             10022
Jeffrey S. Rose                                                New York City Marshal                                        2426 Ralph Ave.                       Brooklyn         NY             11234
Abe Shampaner                                                                                                               3 Binnington Ct.                      East Brunswick   NJ             08816
Brett Shampaner                                                                                                             65-36 Wetherole St., Apt. 409         Rego Park        NY             10022
Schwartz Sladkus Reich Greenberg Atlas LLP                     Attn: Lynn E. Judell                                         444 Madison Ave., 6th Floor           New York         NY            10022
Paychex, Inc.                                                                                                               225 West 34th St., Suite 700          New York         NY             10122
Taroff & Taitz LLP                                                                                                          1 Corporate Drive, Suite 102          Behemia          NY             11716
Inemer & Wolf LLP                                              Attn: Joe Wolf                                               1430 Broadway, Suite 1503             New York         NY             10018
Startel Solutions                                                                                                           40 West 37th St., Suite 805           New York         NY             10018
Fox Capital Group                                                                                                           383 Kingston Ave., Suite 337          Brooklyn         NY             11213
Zachter PLLC                                                   Attn: Jeffrey Zachter                                        2 University Plaza                    Hackensack       NJ             07601
C&H Financial Services Inc.                                                                                                 100 Jericho Quadrangle                Jericho          NY             11753
Oxygen Recovery Group                                          Attn: Mohsin Pometkar                                        1 Hillcrest Center Dr., Suite 314     Spring Valley    NY             10977
Yo Re Mi                                                                                                                    221 Linden Blvd.                      Brooklyn         NY             12226
Mark Yosef                                                                                                                  116 Nassau St., 5th Floor             New York         NY             10038
Con Edison                                                     Cooper Station                                               P.O. Box 138                          New York         NY             10276
Spectrum                                                                                                                    2554 Broadway                         New York         NY             10025
Nextiva                                                                                                                     8800 East Chaparral Road, Suite 300   Scottsdale       AZ             85250
Verizon                                                                                                                     1095 Avenue of the Americas           New York         NY             10036
Baby Fingers LLC                                               c/o Douglas A. Lobel, P.C.                                   25 West 43rd St.                      New York         NY             10036
Chess at Three                                                                                                              1307-9 Madison Ave.                   New York         NY             10007
Fresh Outlook Tutors, Inc.                                     Attn: Paul Carrano                                           124 West 72nd St., Unit 6A            New York         NY             10023
Espanate LLC                                                   Attn: Michelle Ruiz Burden                                   2095 Broadway, Suite 504              New York         NY             10023
Nationwide Insurance                                                                                                        One Nationwide Plaza                  Columbus         OH             43215
Travelers Indemnity Company                                                                                                 One Tower Square                      Hartford         CT             06183
Travelers Co. Inc.                                                                                                          485 Lexington Ave., 8th Floor         New York         NY             10017
NYS Office of Child and Family Services                        New York City Regional Office                                80 Maiden Lane, 23rd Floor            New York         NY             10038
NYC Department of Health and Mental Hygiene                    Attn: Simone C. Hawkins, Ass't Comm'r Bureau of Child Care   125 Worth St., 3rd Floor              New York         NY             10013
NYS Department of Labor                                        Building 12                                                  W.A. Harriman Campus                  Albany           NY             12240
NYS Workers Compensation Board                                                                                              111 Livingston St., 22nd Floor        Brooklyn         NY             11201
NYS Workers Compensation Board                                                                                              215 West 125th St.                    New York         NY             10027
NYS Department of Taxation and Finance                         Bankruptcy Section                                           P.O. Box 5300                         Albany           NY             12205
MPH-1 The Edge LLC c/o Madison Marquette Retail Services                                                                    2001 Pennsylvania Ave., N.W.          Washington       DC             20006
99 John St., LLC                                               c/o Rockrose Development Corp., Attn: General Counsel        15 East 26th St., 7th Floor           New York         NY             10010
19-13097       Doc 1   Filed 09/27/19   Entered 09/27/19 12:31:20      Main Document       Pg
                                           10 of 13


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  In re:                                           Chapter 11

  SMARTER TODDLER GROUP, LLC,                      Case No. 19-bk-- - -

                         Debtor.

                           CORPORATE OWNERSHIP STATEMENT

           Pursuant to Rules 1007(a)(l) and 7007.1, Smarter Toddler Group, LLC hereby certifies

 that it has no corporate parent.

 Dated: September'27 , 2019


                                                      ettia Ming, Manager
19-13097       Doc 1    Filed 09/27/19    Entered 09/27/19 12:31:20      Main Document       Pg
                                             11 of 13


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  In re:                                             Chapter 11

  SMARTER TODDLER GROUP, LLC,                        Case No. 19-bk-- --

                            Debtor.

                             LIST OF EQUITY SECURITY HOLDERS

           Pursuant to Rule 1007(a)(3), the following is the list of Smarter Toddler Group, LLC's

 equity security holders:

  Name and Address of Each Holder                   Percent~g~ of Membership lnJer~sts Held
  Kettia Ming                                       28%
  Robert Ming                                       27%
  Giordano Consulting Inc.                          25%
  Joshua Rahn                                       5%
  Abe Shampaner                                     12%
  Brett Shampaner                                   3%

           I hereby declare under penalty of perjury that I have read the foregoing List of Equity

 Security Holders and that it is true and correct to the best of her knowledge, information, and

 belief.

 Dated: Septemberl.l , 2019


                                                      Kettia Ming, Manager
19-13097    Doc 1     Filed 09/27/19    Entered 09/27/19 12:31:20        Main Document        Pg
                                           12 of 13


                           SMARTER TODDLER GROUP, LLC
                       CERTIFICATE OF COMPANY RESOLUTIONS

         I, Kettia Ming, certify that I am the Manager of Smarter Toddler Group, LLC, a New York
 limited liability company, and am authorized to execute this Certificate on its behalf.

         Solely in my capacity as Manager, I hereby cert~ that annexed hereto is a true copy of the
 resolutions adopted by the company on September'"21 , 2019, and that such resolutions have not
 been altered, amended, or rescinded, and are still in force and effect as of the date hereof.

        IN WITNESS WHEREOF, I have hereunto set my hand this1.7~ ay of September, 20 19.



                                                     By:&~~
                                                     KettlaMing, Manager
19-13097    Doc 1     Filed 09/27/19     Entered 09/27/19 12:31:20        Main Document         Pg
                                            13 of 13


                 RESOLUTIONS OF SMARTER TODDLER GROUP, LLC

       WHEREAS, the Manager of Smarter Toddler Group, LLC, a New York limited liability
company ("Company") has considered the financial and operational aspects of the Company's
business;

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Manager, it is
desirable and in the best interests of the Company, its creditors, employees, and members, that a
petition be filed by it seeking relief under chapter 11 of the Bankruptcy Code; and it is further

       RESOLVED, that Kettia Ming, the Manager of the Company ("Authorized Officer") and
any person she may heretofore appoint is authorized on behalf of the Company to execute a
voluntary petition for relief to be filed with the U.S. Bankruptcy Court for the Southern District of
New York; and it is further

        RESOLVED, that the Authorized Officer is authorized on behalf of the Company to verify
and file all schedules, statements, lists, and other papers or documents, and to take and perform
any and all further actions or steps that the Authorized Officer deems necessary or desirable in
connection with its chapter 11 case; and it is further

       RESOLVED, that the Company is authorized to employ Storch Amini PC as general
bankruptcy counsel and such other professionals as the Company deems appropriate, and in
connection therewith the Authorized Officer is authorized to execute appropriate retention
agreements, pay appropriate retainers prior to the bankruptcy; and it is further

       RESOLVED, that any and all actions heretofore taken by an Authorized Officer in the
name of and on behalf of the Company be, and hereby are, ratified, confirmed, and approved in all
respects.
                      :t\ .
Dated: Septemberl'1 , 2019


                                                      Kettia Ming, Manager
